                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION

UNITED STATES OF AMERICA                              )
                                                      )
v.                                                    )       Criminal No. 3:09-00186-14
                                                      )       Judge Trauger
SIXTO ARELLANO-GARCIA                                 )
                                                      )

                                   MEMORANDUM and ORDER

       The defendant has filed a Motion In Limine (Docket No. 473), to which the government

has responded in opposition (Docket No. 482).

       The defendant seeks to exclude from evidence an identification card found in a search of

the defendant’s residence upon his arrest on November 9, 2009. This is relevant, admissible

evidence that links the false name on the identification card with a cellular phone used by the

defendant to make calls during the course of the conspiracy. The government will not be

allowed to raise the specter of the defendant’s possession of this false identification card being a

separate crime or a “bad act” by the defendant, requiring analysis under Rule 404(b) of the

FEDERAL RULES OF EVIDENCE. This is simply properly-seized evidence of the defendant’s

participation in the conspiracy.

       The defendant also objects to the admission of a memo book or notepad found during the

search of the apartment of co-defendant Armondo Jaimes-Salazar (“Sueño”). The defendant

objects to the admissibility of this notebook, which the government will contend is a drug ledger

and which the government contends shows notations linking the defendant (“Tito”) to drug

dealing with “Sueño.”




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       First, the defendant contends that the notebook is “blatant hearsay” and the government

cannot lay a proper foundation for its admissibility because the government cannot prove who

wrote the notations in the book. This argument is without merit, in that the government need not

prove the identity of the person who made the notations for a notebook of this sort, which is

admissible under Rule 801(d)(2)(E) of the FEDERAL RULES OF EVIDENCE as the statement of a

co-conspirator made during the course and in furtherance of the conspiracy. United States v.

Breitkreutz, 977 F.2d 214, 218 (6th Cir. 1992). So long as the government proves by a

preponderance of the evidence prior to the proffer of the notebook that a conspiracy existed, that

the defendant was a part of that conspiracy, and that the notations in the notebook were made

during the course and in furtherance of the conspiracy to distribute cocaine, the notebook will be

admissible.

       The defendant also maintains that the notebook is “testimonial in nature and thus subject

to exclusion under the authority of Crawford v. Washington, 541 U.S. 36, 124 S. Ct. 1354, 158

L.Ed.2d 177 (2004). (Docket No. 473 at 3) This argument is unavailing, as the Confrontation

Clause does not bar the admissibility of co-conspirator statements made during and in the course

of the conspiracy. See United States v. Hargrove, 508 F.3d 445, 448 (7th Cir. 2007); United

States v. Singh, 494 F.3d 653, 658-59 (8th Cir. 2007); United States v. Ramirez, 479 F.3d 1 (10th

Cir. 2007). The rationale for these decisions is that a statement made in furtherance of a

conspiracy is not “testimonial.”

       As an alternative ground, the government maintains that the notebook may be received as

non-hearsay, not requiring admissibility as a co-conspirator’s statement, in that it is not offered

for the truth of the statements contained therein, but merely to show the existence of a

relationship between the defendant and “Sueño,” the existence of a drug conspiracy, and to

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corroborate the testimony of a government witness that “Sueño” kept drug ledgers to detail the

money that the defendant owed to him. Under either ground, the notebook is admissible

evidence.

       The third subject of the defendant’s Motion In Limine requests the exclusion of evidence

concerning the defendant’s participation in drug trafficking or possession of firearms in the

summer of 2008. The court has already ruled on this issue in its decision on the government’s

Motion In Limine No. 1.

       For the reasons expressed herein, the defendant’s Motion In Limine as it relates to the

identification card and the notebook/drug ledger is DENIED. The court’s ruling on the third

ground concerning the summer 2008 evidence against the defendant is contained within the

court’s Memorandum and Order entered October 26, 2010 (Docket No. 487).

       It is so ORDERED.

       ENTER this 27th day of October 2010.


                                                     ________________________________
                                                           ALETA A. TRAUGER
                                                             U.S. District Judge




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